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       Plaintiffs' Opposition to Defendant's
       Motion to Dismiss Exhibit E
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                                    EXE002
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                                    EXE005
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                                    EXE006
